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March 1, 2021
VIA ECF

Hon. Debra C. Freeman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007


Re:    Jane Doe v. Darren K. Indyke and Richard D. Kahn, in their capacities as
       the Executors of the Estate of Jeffrey E. Epstein, 1:20-cv-02365-LJL-DCF

Dear Judge Freeman:

      Pursuant to the Court’s September 4, 2020 Order (ECF No. 15), Plaintiff and
Defendants Darren K. Indyke and Richard D. Kahn, Co-Executors of the Estate of Jeffrey
E. Epstein, jointly submit this status report.

       Plaintiff has submitted her claim to the Epstein Victims’ Compensation Program
(the “Program”), which is currently being considered. Should Plaintiff resolve her claims
against Defendants via the Program, the parties will thereafter promptly discontinue this
action with prejudice.

       To preserve the parties’ resources and in the interests of judicial economy, the
parties respectfully request that this case remain stayed at this time.

Respectfully submitted,

/s/ Bennet J. Moskowitz

Bennet J. Moskowitz

cc: Counsel of Record (via ECF)
